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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

JANE DOE,                                   :      CASE NO.: 2:20-cv-00459
                                            :
              Plaintiff,                    :      JUDGE GRAHAM
                                            :
vs.                                         :      MAGISTRATE JUDGE LITKOVITZ
                                            :
ANDREW K. MITCHELL, et al.,                 :
                                            :
              Defendants.                   :

AGREED STIPULATION OF DISMISSAL OF PLAINTIFF’S COMPLAINT AGAINST
                 DEFENDANT ANDREW MITCHELL


       Now come Plaintiff, Jane Doe, Defendant, City of Columbus, and Defendant, Andrew K.

Mitchell, by and through their respective counsel, pursuant to Fed. R. Civ. P. 41(a) and by

stipulation of all parties to this action, that the claims of Plaintiff against Defendant Andrew

Mitchell are dismissed with prejudice.

       It is hereby ORDERED, ADJUDGED, AND DECREED that the claims of Plaintiff against

Defendant Andrew Mitchell are dismissed with prejudice.

       IT IS SO ORDERED.


                                            MAGISTRATE JUDGE LITKOVITZ
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APPROVED BY:


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